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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater      *           MDL NO. 2179
  Horizon” in the Gulf of Mexico, on April      *
  20, 2010                                      *           SECTION J
                                                *
This document relates to all actions.           *
                                                *           HONORABLE CARL J.
                                                *           BARBIER
                                                *
                                                *           MAGISTRATE JUDGE
                                                *           SHUSHAN
                                                *

Bon Secour Fisheries, Inc., et al., individually *          Civil Action No. 12-970
and on behalf of themselves and all others       *
similarly situated,                              *          SECTION J
                                                 *
   Plaintiffs,                                   *
                                                 *          HONORABLE CARL J.
v.                                               *          BARBIER
                                                 *
BP Exploration & Production Inc.; BP             *          MAGISTRATE JUDGE
America Production Company; BP p.l.c.,           *          SHUSHAN
                                                 *
   Defendants.


                           NOTICE OF MANUAL ATTACHMENT

       Patrick A. Juneau, Claims Administrator of the Deepwater Horizon Economic and

Property Damages Settlement Agreement (“Claims Administrator”), and the Deepwater Horizon

Court Supervised Settlement Program (“Settlement Program”), through their undersigned

counsel, will file Exhibits B(1) and C(1) to their Response manually with the Clerk’s Office on

April 1, 2013. Exhibits B(1) and C(1) are both copies of an April 4, 2012 email from Charles

Hacker to Joe Rice, carbon copying others, with the subject: “Business Economic Loss

Framework,” and an attached memorandum entitled “Business Economic Loss Framework

Observations.”
